                                                                     Invoice Adjustment - Credit

Invoice No.:           CF0000000318                                   Cust PO:             5501-BK900606D
Invoice Date:          12/13/2017                                     Order Contact:
Due Date:              12/13/2017                                     Salesperson:         Resource Engineered Products, LLC (REP)
                                                                                           (34)
Order No.:             93671                                          Job Name:            BONNEVILLE LOCK & DAM - UPGRADE

               Invoice To:                   CED2051                                    Deliver To:                  CED2051-3
               C.E.D POWER (ANAHEIM)                                                    NOVA GROUP
               ***CUSTOMERSERVICE@CEDPOWER.COM***                                       BONNEVILLE LOCK & DAM
               2861 EAST LA PALMA AVE.                                                  1-84 EXIT 40
               ANAHEIM CA 92806                                                         CASCADE OR 97014
               USA                                                                      USA




 No. Item ID / Description                                                           Quantity          Unit Price      Ext Price
 1   SOLI0936710001                                                                     1.000      -39,884.00000      -39,884.00
     MV METALCLAD SWITCHGEAR "1SJ1"
Reason: price adjustment as per CN 19801
Price change: From 390,906.25 to 351,022.25
Original Invoice: IF0000007518
 2    SOLI0936710002                                                                    1.000      -39,884.00000      -39,884.00
      MV METALCLAD SWITCHGEAR "1SJ2"
Reason: Price adjustment as per CN 19801
Price change: From 390,906.25 to 351,022.25
Original Invoice: IF0000007518
CALL 24 HRS PRIOR TO DELIVERY: TED MOULDING 503-821-8912
SHIPPING SPLITS NEEDED


Apply to Invoice: IF0000007518


Remit To:                                       Payment Terms:       Net 30
                                                                                                  Sales Amount       -79,768.00
Industrial Electric Mfg
48205 Warm Springs Blvd                                                                           Misc Charges            0.00
Fremont CA 94539                                                                                        Freight           0.00
USA
510-656-1600                                                                                          Sales Tax           0.00
                                                                                                                          0.00
                                                                                                Prepaid Amount            0.00

                                                                                                         Total       -79,768.00




                               Industrial Electric Mfg, 48205 Warm Springs Blvd, Fremont, CA, 94539, USA
                                                              P: 510-656-1600
                                                           http://www.iemfg.com                                     Exhibit A
                                                                 Page 1 of 1                                      Page 1 of 14     161202a
     IEM General Terms and                                       tort (including negligence) or otherwise for damage or
                                                                 loss of other property or equipment, loss of profits
                                                                                                                                  PRICES
                                                                                                                                  Prices, discounts and multipliers are subject to change
       Conditions of Sale                                        revenue, loss of use of equipment or power system, cost
                                                                 of capital, cost of purchased or replacement power or
                                                                                                                                  without notice. Verbal quotations, unless accepted, expire
                                                                                                                                  the same day they are made. Written quotations, unless
                                                                 temporary equipment (including additional expenses               accepted, automatically expire 30 calendar days from the
SHIPPING SCHEDULES-PERFORMANCE                                   incurred in using existing facilities), claims of customers      date of issue and can be withdrawn by notice within that
When requested, Industrial Electrical Mfg. will establish        of the purchaser, or for any special, indirect, incidental, or   period.
estimated shipping schedules as close as possible to             consequential damages whatsoever. The remedies of the
customer needs and will use its best efforts to meet the         purchaser set forth herein are exclusive and the liability of    POLICY
estimated schedule. However, Industrial Electric Mfg.            Industrial Electric Mfg. with respect to any contract, or        Orders entered on a "Hold For Release" basis are not
shall not be responsible for failure to meet such schedule.      anything done in connection therewith such as                    manufactured until a release date is received. Allow
Industrial Electric Mfg. shall not be responsible for any        performance or breach thereof, or from manufacture, sale         ample release time to fulfill requirements. Prices on
loss or damage to customer for whatever reason, or for           delivery, resale, installation or technical direction of         purchase orders placed for orders to be shipped in excess
any loss of or damage of goods when caused directly or           installation, repair or use of any equipment covered by or       of six months from date of purchase order are subject to
indirectly from any cause or causes beyond the control of        furnished under the contract, whether any contract, in tort      increases of 1.5% for each month or fraction thereof in
Industrial Electric Mfg. or the control of its suppliers.        (including negligence) or otherwise, shall not exceed the        excess of the six months.
Should shipment be held beyond scheduled delivery date           price of the equipment or part on which such liability is
for the convenience of the customer, Industrial Electric         based.                                                           ARBITRATION
Mfg. reserves the right to bill for goods and charges for                                                                         Any claim arising out of or related in any way to the
warehousing, insurance, trucking and other associated            WEIGHTS AND DIMENSIONS                                           purchase of goods or services by purchaser, or arising
expenses.                                                        Published weights are actual or are careful estimates, but       out of or related to these General Terms and
                                                                 are not guaranteed. The dimensions in catalogs are               Conditions, shall be submitted to binding arbitration
PENALTY CLAUSE                                                   subject to change without notice and are not to be used          before an arbitrator selected by the American
In no event does Industrial Electric Mfg. agree to pay any       for construction purposes.                                       Arbitration Association. Such arbitrator shall be
amount identified as a penalty or as liquidated damages                                                                           knowledgeable in the construction industry, and such
for failure to meet a shipping schedule, unless a specific       RETURNING PRODUCTS                                               arbitration shall be conducted in accordance with the
Agreement to that effect is made in writing and signed by        Authorization and shipping instructions for the return           rules of the American Arbitration Association in
an officer of Industrial Electric Mfg.                           of any product must be obtained by the purchaser from            Fremont, CA. The award entered by the arbitrator may
                                                                 Industrial Electric Mfg. sales office or distribution outlet     be enforced in any court of competent jurisdiction in
CANCELLATION                                                     before returning the product. The product must be                Alameda County, CA.
Orders may be terminated by the purchaser only upon              returned with complete identification in accordance
payment of reasonable charges based upon expenses                with Industrial Electric Mfg. instructions or it will not be     ATTORNEY’S FEES
already incurred and commitments made by Industrial              accepted. Where a purchaser requests authorization               In any arbitration or litigation arising out of or related in
Electric Mfg. Cancellation charges for completed items           to return the product for reasons of his own, he will be         any way to the purchase of goods or services by
will be 100% of the selling price.                               charged for placing the return goods in salable                  purchaser, or arising out of or related in any way to
                                                                 condition (restocking charge) and for any outgoing and           these General Terms and Conditions, the prevailing
WARRANTIES                                                       incoming transportation paid by Industrial Electric Mfg.         party therein shall be entitled to its reasonable attorneys
Industrial Electric Mfg. warrants the goods sold to be as        In no event will Industrial Electric Mfg. be responsible         fees and costs, including but not limited to any fees and
described and to be free from defects in materials and           for a product returned without proper authorization and          costs on appeal or in having an arbitration award
workmanship under normal and proper usage for a period           identification. Industrial Electric Mfg. reserves the right      confirmed.
of one year from date of shipment. No promise,                   to limit the return of material from any one project to
description, affirmation of fact, sample model or                10% of the value of the project.                                 SHIPMENT
representation, oral or written, shall be a part of any order                                                                     All shipments are F.O.B. the point of shipment. In the
unless specifically set forth herein, or in a separate writing   ORDERS                                                           absence of directions prior to the date of shipment,
signed by an officer of Industrial Electric Mfg. The             All orders received are subject to acceptance by an              Industrial Electric Mfg. will select the method of
warranties set forth above are void if the goods sold            authorized representative of Industrial Electric Mfg.            shipment it deems appropriate. If the purchaser prefers
hereunder are used in any manner other than their                Orders must be firm commitments giving complete item             a specific method or forwarding agent to handle the
intended purpose or abused or if they are modified,              description (catalog numbers where applicable) including         shipments, complete instructions must be given. All
altered or taken apart except according to Industrial            prices, quantity and shipping requirements.                      claims for loss, breakage and damage (obvious or
Electric Mfg.’s express written instructions. Industrial         Typographical and clerical errors in quotations, orders,         concealed) must be made by the customer to the
Electric Mfg. makes no other warranties of any kind,             and acknowledgments are subject to correction.                   carriers. Claims for shortages or other errors must be
express or implied, and SPECIFICALLY EXCLUDES ALL                                                                                 made in writing to Industrial Electric Mfg. within thirty
WARRANTIES OF MERCHANTABILITY OR FITNESS                         CREDIT                                                           (30) days after receipt of shipment. Failure to give such
FOR A PARTICULAR PURPOSE.                                        Purchasers who do not have established credit ratings            notice will constitute acceptance and a waiver of all
                                                                 with Industrial Electric Mfg. shall send satisfactory credit     claims by the purchaser.
PURCHASER’S REMEDIES                                             information or references with first order, or send a
Industrial Electric Mfg. agrees to correct any defect in         certified check or money order to avoid delay in order           TRANSPORTATION ALLOWANCES
workmanship or material, for merchandise manufactured            shipment.                                                        Industrial Electric Mfg. will prepay and allow freight
by it, which may develop under normal and proper usage                                                                            charges for orders above $1,000, within the continental
during a period of one year from date of shipment, or by         TERMS OF PAYMENT                                                 United States, to a customer’s one preferred shipping
its option, choose to replace or repay, upon return of the       Terms of payment for all products: 1% 10 Net 30 days. A          address. Packing will be at Industrial Electric Mfg.’s
defective part(s) the price paid for such apparatus by the       service charge of 1.5% per month (annual rate 18%) will          sole discretion and will not include export packing.
purchaser. Purchaser’s remedies shall be limited                 be added to balances 30 days past due.
exclusively to the right of replacement and/or repair or                                                                          EXPORT PACKAGING
repayment as provided, and do not include any labor cost         MINIMUM BILLING                                                  If other than standard commercial packing is required, the
of replacement. Industrial Electric Mfg., its contractors        Orders amounting to less than $100.00 net will be billed         cost of such special packing (determinable only after
and suppliers of any tier, shall not be liable in contract, in   at $100.00.                                                      packing is completed) will be charged to the customer.
                                                                                                                                                                 Exhibit A
                                                                                                                                                               Page 2 of 14
IEM 72-01-01 Rev1
                                                                                                                   Invoice

Invoice No.:           IF0000007391                                   Cust PO:             5501-BK900606D
Invoice Date:          8/24/2017                                      Order Contact:
Due Date:              9/23/2017                                      Salesperson:         Resource Engineered Products, LLC (REP)
                                                                                           (34)
Order No.:             93671                                          Job Name:            BONNEVILLE LOCK & DAM - UPGRADE

               Invoice To:                   CED2051                                    Deliver To:                  CED2051-3
               C.E.D POWER (ANAHEIM)                                                    NOVA GROUP
               ***CUSTOMERSERVICE@CEDPOWER.COM***                                       BONNEVILLE LOCK & DAM
               2861 EAST LA PALMA AVE.                                                  1-84 EXIT 40
               ANAHEIM CA 92806                                                         CASCADE OR 97014
               USA                                                                      USA




 No. Item ID / Description                                                           Quantity         Unit Price       Ext Price
 30  A7ERGX100401501                                                                   26.000           0.00000             0.00
     MOC ACTUATOR ASSY CONN ONLY
CALL 24 HRS PRIOR TO DELIVERY: TED MOULDING 503-821-8912
SHIPPING SPLITS NEEDED


Remit To:                                       Payment Terms:       Net 30
                                                                                                  Sales Amount            0.00
Industrial Electric Mfg
48205 Warm Springs Blvd                                                                           Misc Charges            0.00
Fremont CA 94539                                                                                        Freight           0.00
USA
510-656-1600                                                                                          Sales Tax           0.00
                                                                                                                          0.00
                                                                                                Prepaid Amount            0.00

                                                                                                         Total            0.00




                               Industrial Electric Mfg, 48205 Warm Springs Blvd, Fremont, CA, 94539, USA
                                                              P: 510-656-1600
                                                           http://www.iemfg.com                                     Exhibit A
                                                                 Page 1 of 1                                      Page 3 of 14     161202a
     IEM General Terms and                                       tort (including negligence) or otherwise for damage or
                                                                 loss of other property or equipment, loss of profits
                                                                                                                                  PRICES
                                                                                                                                  Prices, discounts and multipliers are subject to change
       Conditions of Sale                                        revenue, loss of use of equipment or power system, cost
                                                                 of capital, cost of purchased or replacement power or
                                                                                                                                  without notice. Verbal quotations, unless accepted, expire
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                                                                 temporary equipment (including additional expenses               accepted, automatically expire 30 calendar days from the
SHIPPING SCHEDULES-PERFORMANCE                                   incurred in using existing facilities), claims of customers      date of issue and can be withdrawn by notice within that
When requested, Industrial Electrical Mfg. will establish        of the purchaser, or for any special, indirect, incidental, or   period.
estimated shipping schedules as close as possible to             consequential damages whatsoever. The remedies of the
customer needs and will use its best efforts to meet the         purchaser set forth herein are exclusive and the liability of    POLICY
estimated schedule. However, Industrial Electric Mfg.            Industrial Electric Mfg. with respect to any contract, or        Orders entered on a "Hold For Release" basis are not
shall not be responsible for failure to meet such schedule.      anything done in connection therewith such as                    manufactured until a release date is received. Allow
Industrial Electric Mfg. shall not be responsible for any        performance or breach thereof, or from manufacture, sale         ample release time to fulfill requirements. Prices on
loss or damage to customer for whatever reason, or for           delivery, resale, installation or technical direction of         purchase orders placed for orders to be shipped in excess
any loss of or damage of goods when caused directly or           installation, repair or use of any equipment covered by or       of six months from date of purchase order are subject to
indirectly from any cause or causes beyond the control of        furnished under the contract, whether any contract, in tort      increases of 1.5% for each month or fraction thereof in
Industrial Electric Mfg. or the control of its suppliers.        (including negligence) or otherwise, shall not exceed the        excess of the six months.
Should shipment be held beyond scheduled delivery date           price of the equipment or part on which such liability is
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expenses.                                                        Published weights are actual or are careful estimates, but       out of or related to these General Terms and
                                                                 are not guaranteed. The dimensions in catalogs are               Conditions, shall be submitted to binding arbitration
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amount identified as a penalty or as liquidated damages                                                                           knowledgeable in the construction industry, and such
for failure to meet a shipping schedule, unless a specific       RETURNING PRODUCTS                                               arbitration shall be conducted in accordance with the
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                                                                 Industrial Electric Mfg. sales office or distribution outlet     be enforced in any court of competent jurisdiction in
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WARRANTIES                                                       incoming transportation paid by Industrial Electric Mfg.         party therein shall be entitled to its reasonable attorneys
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described and to be free from defects in materials and           for a product returned without proper authorization and          costs on appeal or in having an arbitration award
workmanship under normal and proper usage for a period           identification. Industrial Electric Mfg. reserves the right      confirmed.
of one year from date of shipment. No promise,                   to limit the return of material from any one project to
description, affirmation of fact, sample model or                10% of the value of the project.                                 SHIPMENT
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unless specifically set forth herein, or in a separate writing   ORDERS                                                           absence of directions prior to the date of shipment,
signed by an officer of Industrial Electric Mfg. The             All orders received are subject to acceptance by an              Industrial Electric Mfg. will select the method of
warranties set forth above are void if the goods sold            authorized representative of Industrial Electric Mfg.            shipment it deems appropriate. If the purchaser prefers
hereunder are used in any manner other than their                Orders must be firm commitments giving complete item             a specific method or forwarding agent to handle the
intended purpose or abused or if they are modified,              description (catalog numbers where applicable) including         shipments, complete instructions must be given. All
altered or taken apart except according to Industrial            prices, quantity and shipping requirements.                      claims for loss, breakage and damage (obvious or
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express or implied, and SPECIFICALLY EXCLUDES ALL                                                                                 made in writing to Industrial Electric Mfg. within thirty
WARRANTIES OF MERCHANTABILITY OR FITNESS                         CREDIT                                                           (30) days after receipt of shipment. Failure to give such
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PURCHASER’S REMEDIES                                             information or references with first order, or send a
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workmanship or material, for merchandise manufactured            shipment.                                                        Industrial Electric Mfg. will prepay and allow freight
by it, which may develop under normal and proper usage                                                                            charges for orders above $1,000, within the continental
during a period of one year from date of shipment, or by         TERMS OF PAYMENT                                                 United States, to a customer’s one preferred shipping
its option, choose to replace or repay, upon return of the       Terms of payment for all products: 1% 10 Net 30 days. A          address. Packing will be at Industrial Electric Mfg.’s
defective part(s) the price paid for such apparatus by the       service charge of 1.5% per month (annual rate 18%) will          sole discretion and will not include export packing.
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repayment as provided, and do not include any labor cost         MINIMUM BILLING                                                  If other than standard commercial packing is required, the
of replacement. Industrial Electric Mfg., its contractors        Orders amounting to less than $100.00 net will be billed         cost of such special packing (determinable only after
and suppliers of any tier, shall not be liable in contract, in   at $100.00.                                                      packing is completed) will be charged to the customer.
                                                                                                                                                                 Exhibit A
                                                                                                                                                               Page 4 of 14
IEM 72-01-01 Rev1
                                                                                                                    Invoice

Invoice No.:           IF0000007518                                   Cust PO:             5501-BK900606D
Invoice Date:          8/31/2017                                      Order Contact:
Due Date:              9/30/2017                                      Salesperson:         Resource Engineered Products, LLC (REP)
                                                                                           (34)
Order No.:             93671                                          Job Name:            BONNEVILLE LOCK & DAM - UPGRADE

               Invoice To:                   CED2051                                    Deliver To:                  CED2051-3
               C.E.D POWER (ANAHEIM)                                                    NOVA GROUP
               ***CUSTOMERSERVICE@CEDPOWER.COM***                                       BONNEVILLE LOCK & DAM
               2861 EAST LA PALMA AVE.                                                  1-84 EXIT 40
               ANAHEIM CA 92806                                                         CASCADE OR 97014
               USA                                                                      USA




 No. Item ID / Description                                                           Quantity          Unit Price      Ext Price
 1   SOLI0936710001                                                                     1.000      390,906.25000      390,906.25
     MV METALCLAD SWITCHGEAR "1SJ1"
 2     SOLI0936710002                                                                   1.000      390,906.25000      390,906.25
       MV METALCLAD SWITCHGEAR "1SJ2"
CALL 24 HRS PRIOR TO DELIVERY: TED MOULDING 503-821-8912
SHIPPING SPLITS NEEDED


Remit To:                                       Payment Terms:       Net 30
                                                                                                  Sales Amount       781,812.50
Industrial Electric Mfg
48205 Warm Springs Blvd                                                                           Misc Charges             0.00
Fremont CA 94539                                                                                        Freight            0.00
USA
510-656-1600                                                                                          Sales Tax            0.00
                                                                                                                           0.00
                                                                                                Prepaid Amount             0.00

                                                                                                          Total      781,812.50




                               Industrial Electric Mfg, 48205 Warm Springs Blvd, Fremont, CA, 94539, USA
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                                                                 Page 1 of 1                                      Page 5 of 14     161202a
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amount identified as a penalty or as liquidated damages                                                                           knowledgeable in the construction industry, and such
for failure to meet a shipping schedule, unless a specific       RETURNING PRODUCTS                                               arbitration shall be conducted in accordance with the
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WARRANTIES                                                       incoming transportation paid by Industrial Electric Mfg.         party therein shall be entitled to its reasonable attorneys
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workmanship under normal and proper usage for a period           identification. Industrial Electric Mfg. reserves the right      confirmed.
of one year from date of shipment. No promise,                   to limit the return of material from any one project to
description, affirmation of fact, sample model or                10% of the value of the project.                                 SHIPMENT
representation, oral or written, shall be a part of any order                                                                     All shipments are F.O.B. the point of shipment. In the
unless specifically set forth herein, or in a separate writing   ORDERS                                                           absence of directions prior to the date of shipment,
signed by an officer of Industrial Electric Mfg. The             All orders received are subject to acceptance by an              Industrial Electric Mfg. will select the method of
warranties set forth above are void if the goods sold            authorized representative of Industrial Electric Mfg.            shipment it deems appropriate. If the purchaser prefers
hereunder are used in any manner other than their                Orders must be firm commitments giving complete item             a specific method or forwarding agent to handle the
intended purpose or abused or if they are modified,              description (catalog numbers where applicable) including         shipments, complete instructions must be given. All
altered or taken apart except according to Industrial            prices, quantity and shipping requirements.                      claims for loss, breakage and damage (obvious or
Electric Mfg.’s express written instructions. Industrial         Typographical and clerical errors in quotations, orders,         concealed) must be made by the customer to the
Electric Mfg. makes no other warranties of any kind,             and acknowledgments are subject to correction.                   carriers. Claims for shortages or other errors must be
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FOR A PARTICULAR PURPOSE.                                        Purchasers who do not have established credit ratings            notice will constitute acceptance and a waiver of all
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PURCHASER’S REMEDIES                                             information or references with first order, or send a
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purchaser. Purchaser’s remedies shall be limited                 be added to balances 30 days past due.
exclusively to the right of replacement and/or repair or                                                                          EXPORT PACKAGING
repayment as provided, and do not include any labor cost         MINIMUM BILLING                                                  If other than standard commercial packing is required, the
of replacement. Industrial Electric Mfg., its contractors        Orders amounting to less than $100.00 net will be billed         cost of such special packing (determinable only after
and suppliers of any tier, shall not be liable in contract, in   at $100.00.                                                      packing is completed) will be charged to the customer.
                                                                                                                                                                 Exhibit A
                                                                                                                                                               Page 6 of 14
IEM 72-01-01 Rev1
                                                                                                                    Invoice

Invoice No.:           IF0000008391                                   Cust PO:             5501-BK900606D
Invoice Date:          10/31/2017                                     Order Contact:
Due Date:              11/30/2017                                     Salesperson:         Resource Engineered Products, LLC (REP)
                                                                                           (34)
Order No.:             93671                                          Job Name:            BONNEVILLE LOCK & DAM - UPGRADE

               Invoice To:                   CED2051                                    Deliver To:                  CED2051-3
               C.E.D POWER (ANAHEIM)                                                    NOVA GROUP
               ***CUSTOMERSERVICE@CEDPOWER.COM***                                       BONNEVILLE LOCK & DAM
               2861 EAST LA PALMA AVE.                                                  1-84 EXIT 40
               ANAHEIM CA 92806                                                         CASCADE OR 97014
               USA                                                                      USA




 No. Item ID / Description                                                           Quantity          Unit Price      Ext Price
 3   SOLI0936710003                                                                     1.000      246,066.25000      246,066.25
     MV METALCLAD SWITCHGEAR "1SJ NORTH"
 4     SOLI0936710004                                                                   1.000      246,066.25000      246,066.25
       MV METALCLAD SWITCHGEAR "1SJ SOUTH"
CALL 24 HRS PRIOR TO DELIVERY: TED MOULDING 503-821-8912
SHIPPING SPLITS NEEDED


Remit To:                                       Payment Terms:       Net 30
                                                                                                  Sales Amount       492,132.50
Industrial Electric Mfg
48205 Warm Springs Blvd                                                                           Misc Charges             0.00
Fremont CA 94539                                                                                        Freight            0.00
USA
510-656-1600                                                                                          Sales Tax            0.00
                                                                                                                           0.00
                                                                                                Prepaid Amount             0.00

                                                                                                          Total      492,132.50




                               Industrial Electric Mfg, 48205 Warm Springs Blvd, Fremont, CA, 94539, USA
                                                              P: 510-656-1600
                                                           http://www.iemfg.com                                     Exhibit A
                                                                 Page 1 of 1                                      Page 7 of 14     161202a
     IEM General Terms and                                       tort (including negligence) or otherwise for damage or
                                                                 loss of other property or equipment, loss of profits
                                                                                                                                  PRICES
                                                                                                                                  Prices, discounts and multipliers are subject to change
       Conditions of Sale                                        revenue, loss of use of equipment or power system, cost
                                                                 of capital, cost of purchased or replacement power or
                                                                                                                                  without notice. Verbal quotations, unless accepted, expire
                                                                                                                                  the same day they are made. Written quotations, unless
                                                                 temporary equipment (including additional expenses               accepted, automatically expire 30 calendar days from the
SHIPPING SCHEDULES-PERFORMANCE                                   incurred in using existing facilities), claims of customers      date of issue and can be withdrawn by notice within that
When requested, Industrial Electrical Mfg. will establish        of the purchaser, or for any special, indirect, incidental, or   period.
estimated shipping schedules as close as possible to             consequential damages whatsoever. The remedies of the
customer needs and will use its best efforts to meet the         purchaser set forth herein are exclusive and the liability of    POLICY
estimated schedule. However, Industrial Electric Mfg.            Industrial Electric Mfg. with respect to any contract, or        Orders entered on a "Hold For Release" basis are not
shall not be responsible for failure to meet such schedule.      anything done in connection therewith such as                    manufactured until a release date is received. Allow
Industrial Electric Mfg. shall not be responsible for any        performance or breach thereof, or from manufacture, sale         ample release time to fulfill requirements. Prices on
loss or damage to customer for whatever reason, or for           delivery, resale, installation or technical direction of         purchase orders placed for orders to be shipped in excess
any loss of or damage of goods when caused directly or           installation, repair or use of any equipment covered by or       of six months from date of purchase order are subject to
indirectly from any cause or causes beyond the control of        furnished under the contract, whether any contract, in tort      increases of 1.5% for each month or fraction thereof in
Industrial Electric Mfg. or the control of its suppliers.        (including negligence) or otherwise, shall not exceed the        excess of the six months.
Should shipment be held beyond scheduled delivery date           price of the equipment or part on which such liability is
for the convenience of the customer, Industrial Electric         based.                                                           ARBITRATION
Mfg. reserves the right to bill for goods and charges for                                                                         Any claim arising out of or related in any way to the
warehousing, insurance, trucking and other associated            WEIGHTS AND DIMENSIONS                                           purchase of goods or services by purchaser, or arising
expenses.                                                        Published weights are actual or are careful estimates, but       out of or related to these General Terms and
                                                                 are not guaranteed. The dimensions in catalogs are               Conditions, shall be submitted to binding arbitration
PENALTY CLAUSE                                                   subject to change without notice and are not to be used          before an arbitrator selected by the American
In no event does Industrial Electric Mfg. agree to pay any       for construction purposes.                                       Arbitration Association. Such arbitrator shall be
amount identified as a penalty or as liquidated damages                                                                           knowledgeable in the construction industry, and such
for failure to meet a shipping schedule, unless a specific       RETURNING PRODUCTS                                               arbitration shall be conducted in accordance with the
Agreement to that effect is made in writing and signed by        Authorization and shipping instructions for the return           rules of the American Arbitration Association in
an officer of Industrial Electric Mfg.                           of any product must be obtained by the purchaser from            Fremont, CA. The award entered by the arbitrator may
                                                                 Industrial Electric Mfg. sales office or distribution outlet     be enforced in any court of competent jurisdiction in
CANCELLATION                                                     before returning the product. The product must be                Alameda County, CA.
Orders may be terminated by the purchaser only upon              returned with complete identification in accordance
payment of reasonable charges based upon expenses                with Industrial Electric Mfg. instructions or it will not be     ATTORNEY’S FEES
already incurred and commitments made by Industrial              accepted. Where a purchaser requests authorization               In any arbitration or litigation arising out of or related in
Electric Mfg. Cancellation charges for completed items           to return the product for reasons of his own, he will be         any way to the purchase of goods or services by
will be 100% of the selling price.                               charged for placing the return goods in salable                  purchaser, or arising out of or related in any way to
                                                                 condition (restocking charge) and for any outgoing and           these General Terms and Conditions, the prevailing
WARRANTIES                                                       incoming transportation paid by Industrial Electric Mfg.         party therein shall be entitled to its reasonable attorneys
Industrial Electric Mfg. warrants the goods sold to be as        In no event will Industrial Electric Mfg. be responsible         fees and costs, including but not limited to any fees and
described and to be free from defects in materials and           for a product returned without proper authorization and          costs on appeal or in having an arbitration award
workmanship under normal and proper usage for a period           identification. Industrial Electric Mfg. reserves the right      confirmed.
of one year from date of shipment. No promise,                   to limit the return of material from any one project to
description, affirmation of fact, sample model or                10% of the value of the project.                                 SHIPMENT
representation, oral or written, shall be a part of any order                                                                     All shipments are F.O.B. the point of shipment. In the
unless specifically set forth herein, or in a separate writing   ORDERS                                                           absence of directions prior to the date of shipment,
signed by an officer of Industrial Electric Mfg. The             All orders received are subject to acceptance by an              Industrial Electric Mfg. will select the method of
warranties set forth above are void if the goods sold            authorized representative of Industrial Electric Mfg.            shipment it deems appropriate. If the purchaser prefers
hereunder are used in any manner other than their                Orders must be firm commitments giving complete item             a specific method or forwarding agent to handle the
intended purpose or abused or if they are modified,              description (catalog numbers where applicable) including         shipments, complete instructions must be given. All
altered or taken apart except according to Industrial            prices, quantity and shipping requirements.                      claims for loss, breakage and damage (obvious or
Electric Mfg.’s express written instructions. Industrial         Typographical and clerical errors in quotations, orders,         concealed) must be made by the customer to the
Electric Mfg. makes no other warranties of any kind,             and acknowledgments are subject to correction.                   carriers. Claims for shortages or other errors must be
express or implied, and SPECIFICALLY EXCLUDES ALL                                                                                 made in writing to Industrial Electric Mfg. within thirty
WARRANTIES OF MERCHANTABILITY OR FITNESS                         CREDIT                                                           (30) days after receipt of shipment. Failure to give such
FOR A PARTICULAR PURPOSE.                                        Purchasers who do not have established credit ratings            notice will constitute acceptance and a waiver of all
                                                                 with Industrial Electric Mfg. shall send satisfactory credit     claims by the purchaser.
PURCHASER’S REMEDIES                                             information or references with first order, or send a
Industrial Electric Mfg. agrees to correct any defect in         certified check or money order to avoid delay in order           TRANSPORTATION ALLOWANCES
workmanship or material, for merchandise manufactured            shipment.                                                        Industrial Electric Mfg. will prepay and allow freight
by it, which may develop under normal and proper usage                                                                            charges for orders above $1,000, within the continental
during a period of one year from date of shipment, or by         TERMS OF PAYMENT                                                 United States, to a customer’s one preferred shipping
its option, choose to replace or repay, upon return of the       Terms of payment for all products: 1% 10 Net 30 days. A          address. Packing will be at Industrial Electric Mfg.’s
defective part(s) the price paid for such apparatus by the       service charge of 1.5% per month (annual rate 18%) will          sole discretion and will not include export packing.
purchaser. Purchaser’s remedies shall be limited                 be added to balances 30 days past due.
exclusively to the right of replacement and/or repair or                                                                          EXPORT PACKAGING
repayment as provided, and do not include any labor cost         MINIMUM BILLING                                                  If other than standard commercial packing is required, the
of replacement. Industrial Electric Mfg., its contractors        Orders amounting to less than $100.00 net will be billed         cost of such special packing (determinable only after
and suppliers of any tier, shall not be liable in contract, in   at $100.00.                                                      packing is completed) will be charged to the customer.
                                                                                                                                                                 Exhibit A
                                                                                                                                                               Page 8 of 14
IEM 72-01-01 Rev1
                                                                                                                    Invoice

Invoice No.:           IF0000008896                                   Cust PO:             5501-BK900606D
Invoice Date:          12/5/2017                                      Order Contact:
Due Date:              1/4/2018                                       Salesperson:         Resource Engineered Products, LLC (REP)
                                                                                           (34)
Order No.:             93671                                          Job Name:            BONNEVILLE LOCK & DAM - UPGRADE

               Invoice To:                   CED2051                                    Deliver To:                  CED2051-3
               C.E.D POWER (ANAHEIM)                                                    NOVA GROUP
               ***CUSTOMERSERVICE@CEDPOWER.COM***                                       BONNEVILLE LOCK & DAM
               2861 EAST LA PALMA AVE.                                                  1-84 EXIT 40
               ANAHEIM CA 92806                                                         CASCADE OR 97014
               USA                                                                      USA




 No. Item ID / Description                                                           Quantity          Unit Price      Ext Price
 5   SOLI0936710005                                                                     1.000       55,870.00000       55,870.00
     MISC. PARTS- "MV SPARE PARTS"
 29  SOLI0936710029                                                                     1.000            0.00000            0.00
     MISC PARTS "MV ACCESSORIES
     261313-2.13"
CALL 24 HRS PRIOR TO DELIVERY: TED MOULDING 503-821-8912
SHIPPING SPLITS NEEDED


Remit To:                                       Payment Terms:       Net 30
                                                                                                  Sales Amount        55,870.00
Industrial Electric Mfg
48205 Warm Springs Blvd                                                                           Misc Charges             0.00
Fremont CA 94539                                                                                        Freight            0.00
USA
510-656-1600                                                                                          Sales Tax            0.00
                                                                                                                           0.00
                                                                                                Prepaid Amount             0.00

                                                                                                         Total        55,870.00




                               Industrial Electric Mfg, 48205 Warm Springs Blvd, Fremont, CA, 94539, USA
                                                              P: 510-656-1600
                                                           http://www.iemfg.com                                     Exhibit A
                                                                 Page 1 of 1                                      Page 9 of 14     161202a
     IEM General Terms and                                       tort (including negligence) or otherwise for damage or
                                                                 loss of other property or equipment, loss of profits
                                                                                                                                  PRICES
                                                                                                                                  Prices, discounts and multipliers are subject to change
       Conditions of Sale                                        revenue, loss of use of equipment or power system, cost
                                                                 of capital, cost of purchased or replacement power or
                                                                                                                                  without notice. Verbal quotations, unless accepted, expire
                                                                                                                                  the same day they are made. Written quotations, unless
                                                                 temporary equipment (including additional expenses               accepted, automatically expire 30 calendar days from the
SHIPPING SCHEDULES-PERFORMANCE                                   incurred in using existing facilities), claims of customers      date of issue and can be withdrawn by notice within that
When requested, Industrial Electrical Mfg. will establish        of the purchaser, or for any special, indirect, incidental, or   period.
estimated shipping schedules as close as possible to             consequential damages whatsoever. The remedies of the
customer needs and will use its best efforts to meet the         purchaser set forth herein are exclusive and the liability of    POLICY
estimated schedule. However, Industrial Electric Mfg.            Industrial Electric Mfg. with respect to any contract, or        Orders entered on a "Hold For Release" basis are not
shall not be responsible for failure to meet such schedule.      anything done in connection therewith such as                    manufactured until a release date is received. Allow
Industrial Electric Mfg. shall not be responsible for any        performance or breach thereof, or from manufacture, sale         ample release time to fulfill requirements. Prices on
loss or damage to customer for whatever reason, or for           delivery, resale, installation or technical direction of         purchase orders placed for orders to be shipped in excess
any loss of or damage of goods when caused directly or           installation, repair or use of any equipment covered by or       of six months from date of purchase order are subject to
indirectly from any cause or causes beyond the control of        furnished under the contract, whether any contract, in tort      increases of 1.5% for each month or fraction thereof in
Industrial Electric Mfg. or the control of its suppliers.        (including negligence) or otherwise, shall not exceed the        excess of the six months.
Should shipment be held beyond scheduled delivery date           price of the equipment or part on which such liability is
for the convenience of the customer, Industrial Electric         based.                                                           ARBITRATION
Mfg. reserves the right to bill for goods and charges for                                                                         Any claim arising out of or related in any way to the
warehousing, insurance, trucking and other associated            WEIGHTS AND DIMENSIONS                                           purchase of goods or services by purchaser, or arising
expenses.                                                        Published weights are actual or are careful estimates, but       out of or related to these General Terms and
                                                                 are not guaranteed. The dimensions in catalogs are               Conditions, shall be submitted to binding arbitration
PENALTY CLAUSE                                                   subject to change without notice and are not to be used          before an arbitrator selected by the American
In no event does Industrial Electric Mfg. agree to pay any       for construction purposes.                                       Arbitration Association. Such arbitrator shall be
amount identified as a penalty or as liquidated damages                                                                           knowledgeable in the construction industry, and such
for failure to meet a shipping schedule, unless a specific       RETURNING PRODUCTS                                               arbitration shall be conducted in accordance with the
Agreement to that effect is made in writing and signed by        Authorization and shipping instructions for the return           rules of the American Arbitration Association in
an officer of Industrial Electric Mfg.                           of any product must be obtained by the purchaser from            Fremont, CA. The award entered by the arbitrator may
                                                                 Industrial Electric Mfg. sales office or distribution outlet     be enforced in any court of competent jurisdiction in
CANCELLATION                                                     before returning the product. The product must be                Alameda County, CA.
Orders may be terminated by the purchaser only upon              returned with complete identification in accordance
payment of reasonable charges based upon expenses                with Industrial Electric Mfg. instructions or it will not be     ATTORNEY’S FEES
already incurred and commitments made by Industrial              accepted. Where a purchaser requests authorization               In any arbitration or litigation arising out of or related in
Electric Mfg. Cancellation charges for completed items           to return the product for reasons of his own, he will be         any way to the purchase of goods or services by
will be 100% of the selling price.                               charged for placing the return goods in salable                  purchaser, or arising out of or related in any way to
                                                                 condition (restocking charge) and for any outgoing and           these General Terms and Conditions, the prevailing
WARRANTIES                                                       incoming transportation paid by Industrial Electric Mfg.         party therein shall be entitled to its reasonable attorneys
Industrial Electric Mfg. warrants the goods sold to be as        In no event will Industrial Electric Mfg. be responsible         fees and costs, including but not limited to any fees and
described and to be free from defects in materials and           for a product returned without proper authorization and          costs on appeal or in having an arbitration award
workmanship under normal and proper usage for a period           identification. Industrial Electric Mfg. reserves the right      confirmed.
of one year from date of shipment. No promise,                   to limit the return of material from any one project to
description, affirmation of fact, sample model or                10% of the value of the project.                                 SHIPMENT
representation, oral or written, shall be a part of any order                                                                     All shipments are F.O.B. the point of shipment. In the
unless specifically set forth herein, or in a separate writing   ORDERS                                                           absence of directions prior to the date of shipment,
signed by an officer of Industrial Electric Mfg. The             All orders received are subject to acceptance by an              Industrial Electric Mfg. will select the method of
warranties set forth above are void if the goods sold            authorized representative of Industrial Electric Mfg.            shipment it deems appropriate. If the purchaser prefers
hereunder are used in any manner other than their                Orders must be firm commitments giving complete item             a specific method or forwarding agent to handle the
intended purpose or abused or if they are modified,              description (catalog numbers where applicable) including         shipments, complete instructions must be given. All
altered or taken apart except according to Industrial            prices, quantity and shipping requirements.                      claims for loss, breakage and damage (obvious or
Electric Mfg.’s express written instructions. Industrial         Typographical and clerical errors in quotations, orders,         concealed) must be made by the customer to the
Electric Mfg. makes no other warranties of any kind,             and acknowledgments are subject to correction.                   carriers. Claims for shortages or other errors must be
express or implied, and SPECIFICALLY EXCLUDES ALL                                                                                 made in writing to Industrial Electric Mfg. within thirty
WARRANTIES OF MERCHANTABILITY OR FITNESS                         CREDIT                                                           (30) days after receipt of shipment. Failure to give such
FOR A PARTICULAR PURPOSE.                                        Purchasers who do not have established credit ratings            notice will constitute acceptance and a waiver of all
                                                                 with Industrial Electric Mfg. shall send satisfactory credit     claims by the purchaser.
PURCHASER’S REMEDIES                                             information or references with first order, or send a
Industrial Electric Mfg. agrees to correct any defect in         certified check or money order to avoid delay in order           TRANSPORTATION ALLOWANCES
workmanship or material, for merchandise manufactured            shipment.                                                        Industrial Electric Mfg. will prepay and allow freight
by it, which may develop under normal and proper usage                                                                            charges for orders above $1,000, within the continental
during a period of one year from date of shipment, or by         TERMS OF PAYMENT                                                 United States, to a customer’s one preferred shipping
its option, choose to replace or repay, upon return of the       Terms of payment for all products: 1% 10 Net 30 days. A          address. Packing will be at Industrial Electric Mfg.’s
defective part(s) the price paid for such apparatus by the       service charge of 1.5% per month (annual rate 18%) will          sole discretion and will not include export packing.
purchaser. Purchaser’s remedies shall be limited                 be added to balances 30 days past due.
exclusively to the right of replacement and/or repair or                                                                          EXPORT PACKAGING
repayment as provided, and do not include any labor cost         MINIMUM BILLING                                                  If other than standard commercial packing is required, the
of replacement. Industrial Electric Mfg., its contractors        Orders amounting to less than $100.00 net will be billed         cost of such special packing (determinable only after
and suppliers of any tier, shall not be liable in contract, in   at $100.00.                                                      packing is completed) will be charged to the customer.
                                                                                                                                                               Exhibit A
                                                                                                                                                            Page 10 of 14
IEM 72-01-01 Rev1
                                                                                                                    Invoice

Invoice No.:           IF0000009127                                   Cust PO:             5501-BK900606D
Invoice Date:          12/19/2017                                     Order Contact:
Due Date:              1/18/2018                                      Salesperson:         Resource Engineered Products, LLC (REP)
                                                                                           (34)
Order No.:             93671                                          Job Name:            BONNEVILLE LOCK & DAM - UPGRADE

               Invoice To:                   CED2051                                    Deliver To:                   CED2051-3
               C.E.D POWER (ANAHEIM)                                                    NOVA GROUP
               ***CUSTOMERSERVICE@CEDPOWER.COM***                                       BONNEVILLE LOCK & DAM
               2861 EAST LA PALMA AVE.                                                  1-84 EXIT 40
               ANAHEIM CA 92806                                                         CASCADE OR 97014
               USA                                                                      USA




 No. Item ID / Description                                                           Quantity         Unit Price        Ext Price
 32  24202B                                                                             1.000           0.00000              0.00
     ELECTROSWITCH
 33    751501ACA1A70850810                                                              1.000            0.00000             0.00
       SEL 751
       Serial Number(s):               31622391068
CALL 24 HRS PRIOR TO DELIVERY: TED MOULDING 503-821-8912
SHIPPING SPLITS NEEDED


Remit To:                                       Payment Terms:       Net 30
                                                                                                  Sales Amount             0.00
Industrial Electric Mfg
48205 Warm Springs Blvd                                                                           Misc Charges             0.00
Fremont CA 94539                                                                                        Freight            0.00
USA
510-656-1600                                                                                          Sales Tax            0.00
                                                                                                                           0.00
                                                                                                Prepaid Amount             0.00

                                                                                                         Total             0.00




                               Industrial Electric Mfg, 48205 Warm Springs Blvd, Fremont, CA, 94539, USA
                                                              P: 510-656-1600
                                                           http://www.iemfg.com                                      Exhibit A
                                                                 Page 1 of 1                                      Page 11 of 14     161202a
     IEM General Terms and                                       tort (including negligence) or otherwise for damage or
                                                                 loss of other property or equipment, loss of profits
                                                                                                                                  PRICES
                                                                                                                                  Prices, discounts and multipliers are subject to change
       Conditions of Sale                                        revenue, loss of use of equipment or power system, cost
                                                                 of capital, cost of purchased or replacement power or
                                                                                                                                  without notice. Verbal quotations, unless accepted, expire
                                                                                                                                  the same day they are made. Written quotations, unless
                                                                 temporary equipment (including additional expenses               accepted, automatically expire 30 calendar days from the
SHIPPING SCHEDULES-PERFORMANCE                                   incurred in using existing facilities), claims of customers      date of issue and can be withdrawn by notice within that
When requested, Industrial Electrical Mfg. will establish        of the purchaser, or for any special, indirect, incidental, or   period.
estimated shipping schedules as close as possible to             consequential damages whatsoever. The remedies of the
customer needs and will use its best efforts to meet the         purchaser set forth herein are exclusive and the liability of    POLICY
estimated schedule. However, Industrial Electric Mfg.            Industrial Electric Mfg. with respect to any contract, or        Orders entered on a "Hold For Release" basis are not
shall not be responsible for failure to meet such schedule.      anything done in connection therewith such as                    manufactured until a release date is received. Allow
Industrial Electric Mfg. shall not be responsible for any        performance or breach thereof, or from manufacture, sale         ample release time to fulfill requirements. Prices on
loss or damage to customer for whatever reason, or for           delivery, resale, installation or technical direction of         purchase orders placed for orders to be shipped in excess
any loss of or damage of goods when caused directly or           installation, repair or use of any equipment covered by or       of six months from date of purchase order are subject to
indirectly from any cause or causes beyond the control of        furnished under the contract, whether any contract, in tort      increases of 1.5% for each month or fraction thereof in
Industrial Electric Mfg. or the control of its suppliers.        (including negligence) or otherwise, shall not exceed the        excess of the six months.
Should shipment be held beyond scheduled delivery date           price of the equipment or part on which such liability is
for the convenience of the customer, Industrial Electric         based.                                                           ARBITRATION
Mfg. reserves the right to bill for goods and charges for                                                                         Any claim arising out of or related in any way to the
warehousing, insurance, trucking and other associated            WEIGHTS AND DIMENSIONS                                           purchase of goods or services by purchaser, or arising
expenses.                                                        Published weights are actual or are careful estimates, but       out of or related to these General Terms and
                                                                 are not guaranteed. The dimensions in catalogs are               Conditions, shall be submitted to binding arbitration
PENALTY CLAUSE                                                   subject to change without notice and are not to be used          before an arbitrator selected by the American
In no event does Industrial Electric Mfg. agree to pay any       for construction purposes.                                       Arbitration Association. Such arbitrator shall be
amount identified as a penalty or as liquidated damages                                                                           knowledgeable in the construction industry, and such
for failure to meet a shipping schedule, unless a specific       RETURNING PRODUCTS                                               arbitration shall be conducted in accordance with the
Agreement to that effect is made in writing and signed by        Authorization and shipping instructions for the return           rules of the American Arbitration Association in
an officer of Industrial Electric Mfg.                           of any product must be obtained by the purchaser from            Fremont, CA. The award entered by the arbitrator may
                                                                 Industrial Electric Mfg. sales office or distribution outlet     be enforced in any court of competent jurisdiction in
CANCELLATION                                                     before returning the product. The product must be                Alameda County, CA.
Orders may be terminated by the purchaser only upon              returned with complete identification in accordance
payment of reasonable charges based upon expenses                with Industrial Electric Mfg. instructions or it will not be     ATTORNEY’S FEES
already incurred and commitments made by Industrial              accepted. Where a purchaser requests authorization               In any arbitration or litigation arising out of or related in
Electric Mfg. Cancellation charges for completed items           to return the product for reasons of his own, he will be         any way to the purchase of goods or services by
will be 100% of the selling price.                               charged for placing the return goods in salable                  purchaser, or arising out of or related in any way to
                                                                 condition (restocking charge) and for any outgoing and           these General Terms and Conditions, the prevailing
WARRANTIES                                                       incoming transportation paid by Industrial Electric Mfg.         party therein shall be entitled to its reasonable attorneys
Industrial Electric Mfg. warrants the goods sold to be as        In no event will Industrial Electric Mfg. be responsible         fees and costs, including but not limited to any fees and
described and to be free from defects in materials and           for a product returned without proper authorization and          costs on appeal or in having an arbitration award
workmanship under normal and proper usage for a period           identification. Industrial Electric Mfg. reserves the right      confirmed.
of one year from date of shipment. No promise,                   to limit the return of material from any one project to
description, affirmation of fact, sample model or                10% of the value of the project.                                 SHIPMENT
representation, oral or written, shall be a part of any order                                                                     All shipments are F.O.B. the point of shipment. In the
unless specifically set forth herein, or in a separate writing   ORDERS                                                           absence of directions prior to the date of shipment,
signed by an officer of Industrial Electric Mfg. The             All orders received are subject to acceptance by an              Industrial Electric Mfg. will select the method of
warranties set forth above are void if the goods sold            authorized representative of Industrial Electric Mfg.            shipment it deems appropriate. If the purchaser prefers
hereunder are used in any manner other than their                Orders must be firm commitments giving complete item             a specific method or forwarding agent to handle the
intended purpose or abused or if they are modified,              description (catalog numbers where applicable) including         shipments, complete instructions must be given. All
altered or taken apart except according to Industrial            prices, quantity and shipping requirements.                      claims for loss, breakage and damage (obvious or
Electric Mfg.’s express written instructions. Industrial         Typographical and clerical errors in quotations, orders,         concealed) must be made by the customer to the
Electric Mfg. makes no other warranties of any kind,             and acknowledgments are subject to correction.                   carriers. Claims for shortages or other errors must be
express or implied, and SPECIFICALLY EXCLUDES ALL                                                                                 made in writing to Industrial Electric Mfg. within thirty
WARRANTIES OF MERCHANTABILITY OR FITNESS                         CREDIT                                                           (30) days after receipt of shipment. Failure to give such
FOR A PARTICULAR PURPOSE.                                        Purchasers who do not have established credit ratings            notice will constitute acceptance and a waiver of all
                                                                 with Industrial Electric Mfg. shall send satisfactory credit     claims by the purchaser.
PURCHASER’S REMEDIES                                             information or references with first order, or send a
Industrial Electric Mfg. agrees to correct any defect in         certified check or money order to avoid delay in order           TRANSPORTATION ALLOWANCES
workmanship or material, for merchandise manufactured            shipment.                                                        Industrial Electric Mfg. will prepay and allow freight
by it, which may develop under normal and proper usage                                                                            charges for orders above $1,000, within the continental
during a period of one year from date of shipment, or by         TERMS OF PAYMENT                                                 United States, to a customer’s one preferred shipping
its option, choose to replace or repay, upon return of the       Terms of payment for all products: 1% 10 Net 30 days. A          address. Packing will be at Industrial Electric Mfg.’s
defective part(s) the price paid for such apparatus by the       service charge of 1.5% per month (annual rate 18%) will          sole discretion and will not include export packing.
purchaser. Purchaser’s remedies shall be limited                 be added to balances 30 days past due.
exclusively to the right of replacement and/or repair or                                                                          EXPORT PACKAGING
repayment as provided, and do not include any labor cost         MINIMUM BILLING                                                  If other than standard commercial packing is required, the
of replacement. Industrial Electric Mfg., its contractors        Orders amounting to less than $100.00 net will be billed         cost of such special packing (determinable only after
and suppliers of any tier, shall not be liable in contract, in   at $100.00.                                                      packing is completed) will be charged to the customer.
                                                                                                                                                               Exhibit A
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                                                                                                                    Invoice

Invoice No.:           IF0000010165                                   Cust PO:             5501-BK900606D
Invoice Date:          2/28/2018                                      Order Contact:
Due Date:              3/30/2018                                      Salesperson:         Resource Engineered Products, LLC (REP)
                                                                                           (34)
Order No.:             93671                                          Job Name:            BONNEVILLE LOCK & DAM - UPGRADE

               Invoice To:                   CED2051                                    Deliver To:                   CED2051-3
               C.E.D POWER (ANAHEIM)                                                    NOVA GROUP
               ***CUSTOMERSERVICE@CEDPOWER.COM***                                       BONNEVILLE LOCK & DAM
               2861 EAST LA PALMA AVE.                                                  1-84 EXIT 40
               ANAHEIM CA 92806                                                         CASCADE OR 97014
               USA                                                                      USA




 No. Item ID / Description                                                           Quantity         Unit Price        Ext Price
 34  MVSGACLATRYATC                                                                     1.000           0.00000              0.00
     LIFT TRUCK ADAPTER FOR AUX TRAY
CALL 24 HRS PRIOR TO DELIVERY: TED MOULDING 503-821-8912
SHIPPING SPLITS NEEDED


Remit To:                                       Payment Terms:       Net 30
                                                                                                  Sales Amount             0.00
Industrial Electric Mfg
48205 Warm Springs Blvd                                                                           Misc Charges             0.00
Fremont CA 94539                                                                                        Freight            0.00
USA
510-656-1600                                                                                          Sales Tax            0.00
                                                                                                                           0.00
                                                                                                Prepaid Amount             0.00

                                                                                                         Total             0.00




                               Industrial Electric Mfg, 48205 Warm Springs Blvd, Fremont, CA, 94539, USA
                                                              P: 510-656-1600
                                                           http://www.iemfg.com                                      Exhibit A
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     IEM General Terms and                                       tort (including negligence) or otherwise for damage or
                                                                 loss of other property or equipment, loss of profits
                                                                                                                                  PRICES
                                                                                                                                  Prices, discounts and multipliers are subject to change
       Conditions of Sale                                        revenue, loss of use of equipment or power system, cost
                                                                 of capital, cost of purchased or replacement power or
                                                                                                                                  without notice. Verbal quotations, unless accepted, expire
                                                                                                                                  the same day they are made. Written quotations, unless
                                                                 temporary equipment (including additional expenses               accepted, automatically expire 30 calendar days from the
SHIPPING SCHEDULES-PERFORMANCE                                   incurred in using existing facilities), claims of customers      date of issue and can be withdrawn by notice within that
When requested, Industrial Electrical Mfg. will establish        of the purchaser, or for any special, indirect, incidental, or   period.
estimated shipping schedules as close as possible to             consequential damages whatsoever. The remedies of the
customer needs and will use its best efforts to meet the         purchaser set forth herein are exclusive and the liability of    POLICY
estimated schedule. However, Industrial Electric Mfg.            Industrial Electric Mfg. with respect to any contract, or        Orders entered on a "Hold For Release" basis are not
shall not be responsible for failure to meet such schedule.      anything done in connection therewith such as                    manufactured until a release date is received. Allow
Industrial Electric Mfg. shall not be responsible for any        performance or breach thereof, or from manufacture, sale         ample release time to fulfill requirements. Prices on
loss or damage to customer for whatever reason, or for           delivery, resale, installation or technical direction of         purchase orders placed for orders to be shipped in excess
any loss of or damage of goods when caused directly or           installation, repair or use of any equipment covered by or       of six months from date of purchase order are subject to
indirectly from any cause or causes beyond the control of        furnished under the contract, whether any contract, in tort      increases of 1.5% for each month or fraction thereof in
Industrial Electric Mfg. or the control of its suppliers.        (including negligence) or otherwise, shall not exceed the        excess of the six months.
Should shipment be held beyond scheduled delivery date           price of the equipment or part on which such liability is
for the convenience of the customer, Industrial Electric         based.                                                           ARBITRATION
Mfg. reserves the right to bill for goods and charges for                                                                         Any claim arising out of or related in any way to the
warehousing, insurance, trucking and other associated            WEIGHTS AND DIMENSIONS                                           purchase of goods or services by purchaser, or arising
expenses.                                                        Published weights are actual or are careful estimates, but       out of or related to these General Terms and
                                                                 are not guaranteed. The dimensions in catalogs are               Conditions, shall be submitted to binding arbitration
PENALTY CLAUSE                                                   subject to change without notice and are not to be used          before an arbitrator selected by the American
In no event does Industrial Electric Mfg. agree to pay any       for construction purposes.                                       Arbitration Association. Such arbitrator shall be
amount identified as a penalty or as liquidated damages                                                                           knowledgeable in the construction industry, and such
for failure to meet a shipping schedule, unless a specific       RETURNING PRODUCTS                                               arbitration shall be conducted in accordance with the
Agreement to that effect is made in writing and signed by        Authorization and shipping instructions for the return           rules of the American Arbitration Association in
an officer of Industrial Electric Mfg.                           of any product must be obtained by the purchaser from            Fremont, CA. The award entered by the arbitrator may
                                                                 Industrial Electric Mfg. sales office or distribution outlet     be enforced in any court of competent jurisdiction in
CANCELLATION                                                     before returning the product. The product must be                Alameda County, CA.
Orders may be terminated by the purchaser only upon              returned with complete identification in accordance
payment of reasonable charges based upon expenses                with Industrial Electric Mfg. instructions or it will not be     ATTORNEY’S FEES
already incurred and commitments made by Industrial              accepted. Where a purchaser requests authorization               In any arbitration or litigation arising out of or related in
Electric Mfg. Cancellation charges for completed items           to return the product for reasons of his own, he will be         any way to the purchase of goods or services by
will be 100% of the selling price.                               charged for placing the return goods in salable                  purchaser, or arising out of or related in any way to
                                                                 condition (restocking charge) and for any outgoing and           these General Terms and Conditions, the prevailing
WARRANTIES                                                       incoming transportation paid by Industrial Electric Mfg.         party therein shall be entitled to its reasonable attorneys
Industrial Electric Mfg. warrants the goods sold to be as        In no event will Industrial Electric Mfg. be responsible         fees and costs, including but not limited to any fees and
described and to be free from defects in materials and           for a product returned without proper authorization and          costs on appeal or in having an arbitration award
workmanship under normal and proper usage for a period           identification. Industrial Electric Mfg. reserves the right      confirmed.
of one year from date of shipment. No promise,                   to limit the return of material from any one project to
description, affirmation of fact, sample model or                10% of the value of the project.                                 SHIPMENT
representation, oral or written, shall be a part of any order                                                                     All shipments are F.O.B. the point of shipment. In the
unless specifically set forth herein, or in a separate writing   ORDERS                                                           absence of directions prior to the date of shipment,
signed by an officer of Industrial Electric Mfg. The             All orders received are subject to acceptance by an              Industrial Electric Mfg. will select the method of
warranties set forth above are void if the goods sold            authorized representative of Industrial Electric Mfg.            shipment it deems appropriate. If the purchaser prefers
hereunder are used in any manner other than their                Orders must be firm commitments giving complete item             a specific method or forwarding agent to handle the
intended purpose or abused or if they are modified,              description (catalog numbers where applicable) including         shipments, complete instructions must be given. All
altered or taken apart except according to Industrial            prices, quantity and shipping requirements.                      claims for loss, breakage and damage (obvious or
Electric Mfg.’s express written instructions. Industrial         Typographical and clerical errors in quotations, orders,         concealed) must be made by the customer to the
Electric Mfg. makes no other warranties of any kind,             and acknowledgments are subject to correction.                   carriers. Claims for shortages or other errors must be
express or implied, and SPECIFICALLY EXCLUDES ALL                                                                                 made in writing to Industrial Electric Mfg. within thirty
WARRANTIES OF MERCHANTABILITY OR FITNESS                         CREDIT                                                           (30) days after receipt of shipment. Failure to give such
FOR A PARTICULAR PURPOSE.                                        Purchasers who do not have established credit ratings            notice will constitute acceptance and a waiver of all
                                                                 with Industrial Electric Mfg. shall send satisfactory credit     claims by the purchaser.
PURCHASER’S REMEDIES                                             information or references with first order, or send a
Industrial Electric Mfg. agrees to correct any defect in         certified check or money order to avoid delay in order           TRANSPORTATION ALLOWANCES
workmanship or material, for merchandise manufactured            shipment.                                                        Industrial Electric Mfg. will prepay and allow freight
by it, which may develop under normal and proper usage                                                                            charges for orders above $1,000, within the continental
during a period of one year from date of shipment, or by         TERMS OF PAYMENT                                                 United States, to a customer’s one preferred shipping
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defective part(s) the price paid for such apparatus by the       service charge of 1.5% per month (annual rate 18%) will          sole discretion and will not include export packing.
purchaser. Purchaser’s remedies shall be limited                 be added to balances 30 days past due.
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repayment as provided, and do not include any labor cost         MINIMUM BILLING                                                  If other than standard commercial packing is required, the
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                                                                                                                                                               Exhibit A
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